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-vs- ease N‘e." 1:05cr10051-001T

DANNY BERNARD DAVIS

 

ORDER OF DETENT|ON PENDING TRlAL
FIND|NGS
In accordance With the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

DANNY BERNARD DAVIS is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. DANNY BERNARD DAVIS shall be afforded a reasonable
opportunity for private consultation with defense counsel. On order of a Court of the United States or on request of an
attorney for the govemrnent, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection With a Court proceeding

Date; Augusris, 2005 <§ /Z/}¢?/‘H ZL

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 1:05-CR-10051 Was distributed by faX, mail, or direct printing on
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.l ames W. PoWell

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Honorable .l ames Todd
US DISTRICT COURT

